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              IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN

ANTHONY DAUNT,
                                    Plaintiff,
v.
                                                 COMPLAINT
JOCELYN BENSON, in her official capacity
                                                 Case No. 1:20-cv-522
as Michigan Secretary of State; JONATHAN
BRATER, in his official capacity as Director
of the Michigan Bureau of Elections;
SHERYL GUY, in her official capacity as
Antrim County Clerk; DAWN OLNEY, in
her official capacity as Benzie County Clerk;
CHERYL POTTER BROWE, in her official
capacity as Charlevoix County Clerk;
KAREN BREWSTER, in her official capacity
as Cheboygan County Clerk; SUZANNE
KANINE, in her official capacity as Emmet
County Clerk; BONNIE SCHEELE, in her
official capacity as Grand Traverse County
Clerk; NANCY HUEBEL, in her official
capacity as Iosco County Clerk; DEBORAH
HILL, in her official capacity as Kalkaska
County Clerk; JULIE A. CARLSON, in her
official capacity as Keweenaw County Clerk;
MICHELLE L. CROCKER, in her official
capacity as Leelanau County Clerk;
ELIZABETH HUNDLEY, in her official
capacity as Livingston County Clerk; LORI
JOHNSON, in her official capacity as
Mackinac County Clerk; LISA BROWN, in
her official capacity as Oakland County Clerk;
SUSAN I. DEFEYTER, in her official
capacity as Otsego County Clerk;
MICHELLE STEVENSON, in her official
capacity as Roscommon County Clerk; and
LAWRENCE KESTENBAUM, in his
official capacity as Washtenaw County Clerk,
                                 Defendants.
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       Plaintiff, Anthony (“Tony”) Daunt, brings this action under the National Voter

Registration Act of 1993 (NVRA), 52 U.S.C. §20507, against Defendants for declaratory

and injunctive relief, and alleges as follows:

                                  INTRODUCTION
       1.      Section 8 of the NVRA requires States to maintain clean and accurate

voter registration records.

       2.      For at least 16 of its counties, Michigan has failed to live up to this

requirement.

       3.      Leelanau County has more registered voters than it has adult citizens who

are over the age of 18. That number of voters on the rolls is impossibly high.

       4.      An additional 15 counties—Antrim, Benzie, Charlevoix, Cheboygan,

Emmet, Grand Traverse, Iosco, Kalkaska, Keweenaw, Livingston, Mackinac, Oakland,

Otsego, Roscommon, and Washtenaw—have voter registration rates that exceed 90

percent of adult citizens over the age of 18. That figure far eclipses the national and

statewide voter registration rate in recent elections.

       5.      Based on this and other evidence, Defendants are failing to make a

reasonable effort to conduct appropriate list maintenance as required by the NVRA.

                           JURISDICTION AND VENUE
       6.      The Court has subject-matter jurisdiction because this case alleges

violations of the NVRA. 28 U.S.C. §1331.




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      7.     Venue is proper because a substantial part of the events or omissions

giving rise to the claims occurred in this District and because some Defendants “reside”

here. 28 U.S.C. §1391.

                                      PARTIES
      8.     Plaintiff, Tony Daunt, is a duly registered Michigan voter. Daunt regularly

votes in Michigan’s primary and general elections. He plans to vote in Michigan’s

November 2020 general election, including for U.S. President, U.S. Senate, and other

offices and ballot measures on the ballot.

      9.     Because Defendants do not maintain accurate voter rolls, Daunt

reasonably fears that ineligible voters can and do vote in Michigan elections. Those

votes will dilute his legitimate vote. And Michigan’s inaccurate rolls undermine Daunt’s

confidence in the integrity of Michigan elections, which also burdens his right to vote.

      10.    Daunt has long been an active member of the Republican Party. He works

in Michigan to advance conservative policies and to help elect Republican candidates.

Daunt has served, among other roles, as a field director for the College Republican

National Committee and a logistics manager and director for the Michigan Republican

Party. He is currently an officer and member of the governing body of the Clinton

County Republican Party, a member of the governing body of the Michigan Republican

Party Committee, and the executive director of the Michigan Freedom Fund.

      11.    Because Defendants do not maintain accurate voter rolls, Daunt must

spend more of his time and resources monitoring Michigan elections for fraud and


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abuse, mobilizing voters to counteract it, educating the public about election-integrity

issues, and persuading elected officials to improve list maintenance.

       12.    Defendant Jocelyn Benson is Michigan’s Secretary of State. She is the

State’s chief election officer, Mich. Comp. Laws Ann. §168.21, and is responsible for

coordinating the statewide list maintenance required by the NVRA, 52 U.S.C. §20509.

Secretary Benson is sued in her official capacity.

       13.    Defendant Jonathan Brater is Michigan’s Director of Elections. He is

responsible for “perform[ing] the duties of the secretary of state under his or her

supervision, with respect to the supervision and administration of the election laws.”

Mich. Comp. Laws Ann. §168.32. Director Brater is sued in his official capacity.

       14.    Defendant Sheryl Guy is the Clerk of Antrim County. She is the county’s

chief election officer and plays a direct role in list maintenance. Clerk Guy is sued in

her official capacity.

       15.    Defendant Dawn Olney is the Clerk of Benzie County. She is the county’s

chief election officer and plays a direct role in list maintenance. Clerk Olney is sued in

her official capacity.

       16.    Defendant Cheryl Potter Browe is the Clerk of Charlevoix County. She is

the county’s chief election officer and plays a direct role in list maintenance. Clerk

Browe is sued in her official capacity.




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       17.    Defendant Karen Brewster is the Clerk of Cheboygan County. She is the

county’s chief election officer and plays a direct role in list maintenance. Clerk Brewster

is sued in her official capacity.

       18.    Defendant Suzanne Kanine is the Clerk of Emmet County. She is the

county’s chief election officer and plays a direct role in list maintenance. Clerk Kanine

is sued in her official capacity.

       19.    Defendant Bonnie Scheele is the Clerk of Grand Traverse County. She is

the county’s chief election officer and plays a direct role in list maintenance. Clerk

Scheele is sued in her official capacity.

       20.    Defendant Nancy Huebel is the Clerk of Iosco County. She is the county’s

chief election officer and plays a direct role in list maintenance. Clerk Huebel is sued in

her official capacity.

       21.    Defendant Deborah Hill is the Clerk of Kalkaska County. She is the

county’s chief election officer and plays a direct role in list maintenance. Clerk Hill is

sued in her official capacity.

       22.    Defendant Julie A. Carlson is the Clerk of Keweenaw County. She is the

county’s chief election officer and plays a direct role in list maintenance. Clerk Carlson

is sued in her official capacity.

       23.    Defendant Michelle L. Crocker is the Clerk of Leelanau County. She is the

county’s chief election officer and plays a direct role in list maintenance. Clerk Crocker

is sued in her official capacity.

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       24.    Defendant Elizabeth Hundley is the Clerk of Livingston County. She is

the county’s chief election officer and plays a direct role in list maintenance. Clerk

Hundley is sued in her official capacity.

       25.    Defendant Lori Johnston is the Clerk of Mackinac County. She is the

county’s chief election officer and plays a direct role in list maintenance. Clerk Johnston

is sued in her official capacity.

       26.    Defendant Lisa Brown is the Clerk of Oakland County. She is the county’s

chief election officer and plays a direct role in list maintenance. Clerk Brown is sued in

her official capacity.

       27.    Defendant Susan I. DeFeyter is the Clerk of Otsego County. She is the

county’s chief election officer and plays a direct role in list maintenance. Clerk DeFeyter

is sued in her official capacity.

       28.    Defendant Michelle Stevenson is the Clerk of Roscommon County. She

is the county’s chief election officer and plays a direct role in list maintenance. Clerk

Stevenson is sued in her official capacity.

       29.    Defendant Lawrence Kestenbaum is the Clerk of Washtenaw County. He

is the county’s chief election officer and plays a direct role in list maintenance. Clerk

Kestenbaum is sued in his official capacity.




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                                     BACKGROUND

I.     Statutory Background
       30.     Congress enacted the NVRA “to protect the integrity of the electoral

process.” 52 U.S.C. §20501(b)(3). Specifically, section 8 was enacted “to ensure that

accurate and current voter registration rolls are maintained.” §20501(b)(4).

       31.     Retaining voter rolls bloated with ineligible voters harms the electoral

process, heightens the risk of electoral fraud, and undermines public confidence in

elections. “Confidence in the integrity of our electoral processes is,” in turn, “essential

to the functioning of our participatory democracy.” Purcell v. Gonzalez, 549 U.S. 1, 4

(2006).

       32.     Section 8 obligates States to “conduct a general program that makes a

reasonable effort to remove the names of ineligible voters from the official lists of

eligible voters” due to death or change of residence. 52 U.S.C. §20507(a)(4). “[F]ederal

law makes this removal mandatory.” Husted v. A. Philip Randolph Inst., 138 S. Ct. 1833,

1842 (2018).

       33.     Each State’s program for maintaining voter-registration lists must be

“uniform, non-discriminatory, and in compliance with the Voting Rights Act.” 52

U.S.C. §20507(b)(1).

       34.     Specifically, section 8 requires States to “remove the names of ineligible

voters from the official lists of eligible voters by reason of (A) the death of the registrant;




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or (B) a change in the residence of the registrant” to outside her current voting

jurisdiction. 52 U.S.C. §20507(4)(A)-(B).

       35.      The Help America Vote Act (HAVA) also mandates that states adopt

computerized statewide voter registration lists and maintain them “on a regular basis”

in accordance with the NVRA. 52 U.S.C. §21083(a)(2)(A).

       36.      States must “ensure that voter registration records in the State are accurate

and are updated regularly,” an obligation that includes a “reasonable effort to remove

registrants who are ineligible to vote from the official list of eligible voters.” 52 U.S.C.

§21083(a)(4).

       37.      HAVA’s list-maintenance requirements include coordination with “State

agency records on death” and “State agency records on felony status” to facilitate the

removal of individuals who are deceased or rendered ineligible under state law due to a

felony conviction. 52 U.S.C. §21083(a)(2)(A)(ii)(I)-(II).

       38.      According to the bipartisan Carter-Baker Commission, “registration lists

lie at the root of most problems encountered in U.S. elections.” Inaccurate voter rolls

that contain “ineligible, duplicate, fictional, or deceased voters” invite “fraud.” “While

election fraud is difficult to measure” (because many cases go undetected,

uninvestigated, or unprosecuted), “it occurs.” “In close or disputed elections, and there

are many, a small amount of fraud could make the margin of difference.” And “the

perception of possible fraud contributes to low confidence in the system.” The




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Supreme Court agrees. See Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 197 (2008)

(op. of Stevens, J.).

       39.    Recognizing these concerns, the NVRA includes a private right of action.

It empowers any “person who is aggrieved by a violation” to “provide written notice

of the violation to the chief election official of the State involved.” 52 U.S.C.

§20510(b)(1). “If the violation is not corrected within 90 days after receipt of a notice,

… the aggrieved person may bring a civil action in an appropriate district court for

declaratory or injunctive relief.” §20510(b)(2).

II.    Defendants’ Obligations
       40.    Federal law makes Michigan’s Secretary of State primarily responsible for

list maintenance.

       41.    The NVRA requires each State to “designate a State officer or employee

as the chief State election official to be responsible for coordination of State

responsibilities under” the law. 52 U.S.C. §20509.

       42.    Michigan law designates the Secretary of State as the State’s chief election

officer. Mich. Comp. Laws Ann. §168.21. It further instructs the Director of Elections

to “perform the duties of the secretary of state under his or her supervision, with respect

to the supervision and administration of the election laws.” §168.32.

       43.    County clerks also bear list-maintenance responsibilities, serving as the

chief election official for each county.




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       44.       Michigan law provides that “at least once a month, the county clerk shall

forward a list of the last known address and birthdate of all persons over 18 years of

age who have died within the county to the clerk of each city or township within the

county.” Mich. Comp. Laws Ann. §168.510. Then, “[t]he city or township clerk shall

compare this list with the registration records and cancel the registration of all deceased

electors.” Id.

       45.       Many county clerks maintain voter registrations directly.

       46.       Ultimate responsibility for coordinating and overseeing all list-

maintenance activities rests with the Secretary. A chief election official “may not

delegate the responsibility to conduct a general program to a local official and thereby

avoid responsibility if such a program is not reasonably conducted.” United States v.

Missouri, 535 F.3d 844, 850 (8th Cir. 2008).

       47.       Indeed, “the NVRA’s centralization of responsibility counsels against ...

buck passing.” Scott v. Schedler, 771 F.3d 831, 839 (5th Cir. 2014). Courts have rejected

the view that, “once the state designates” a local entity to assist with complying with

federal law, “her responsibility ends.” Harkless v. Brunner, 545 F.3d 445, 452 (6th Cir.

2008). “[I]f every state passed legislation delegating” their responsibilities “to local

authorities, the fifty states would be completely insulated from any enforcement

burdens.” Id.




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III.   Defendants’ Failure to Meet Their List-Maintenance Obligations
       48.    An estimated “24 million voter registrations in the United States—about

one in eight—are either invalid or significantly inaccurate.” Husted, 138 S. Ct. at 1838.

Michigan is no exception.

       49.    Based on data gathered from the U.S. Census Bureau’s 2014-18 American

Community Survey and the most up-to-date count of registered voters available from

the Secretary of State’s office, one Michigan county has more registered voters than

voting-eligible citizens, and 15 others have suspiciously high rates of voter registration.

Thus, Michigan is failing to meet its list-maintenance obligations.

       50.    Comparing the registered voter count to the 2014-18 American

Community Survey reveals that Leelanau County has a registration rate of 102%. In

other words, there are more registered voters than eligible voters.

       51.    Additionally, 15 other counties across the State purport to have more than

90% (in some cases, approaching 100%) of their citizen voting-age populations

registered to vote: Antrim (97.5%), Benzie (97.2%), Charlevoix (94.4%), Cheboygan

(90.2%), Emmet (97.2%), Grand Traverse (95.3%), Iosco (90.4%), Kalkaska (93.5%),

Keweenaw (92.1%), Livingston (93.5%), Mackinac (92.3%), Oakland (92.7%), Otsego

(93.6%), Roscommon (91.2%), and Washtenaw (91.1%).

       52.    These voter registration rates are abnormally—or in the case of Leelanau,

impossibly—high.




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      53.    According to the U.S. Census Bureau, 66.9% of the citizen voting-age

population was registered nationwide in the November 2018 election.

      54.    Similarly, 70.3% of the citizen voting-age population was registered in the

November 2016 election.

      55.    The U.S. Census Bureau further reports Michigan’s statewide voter

registration rates for the 2018 and 2016 elections as 73.4% and 74.1% of the citizen

voting-age population, respectively.

      56.    Thus, these 16 counties are significant outliers, touting voter registration

rates 20 to 30 percentage points higher than the national figures from 2018 and 2016,

and 15 to 25 percentage points higher than the state figures for the same period.

      57.    There is no evidence that these counties experienced above-average voter

participation compared to the rest of the country or State. Instead, the only plausible

explanation for these discrepancies is substandard list maintenance.

      58.    “[S]ignificantly high registration rates,” like these, are a telltale sign that

clerks are “not properly implementing a program to maintain an accurate and current

voter registration roll, in violation of the NVRA.” Am. Civil Rights Union v. Martinez-

Rivera, 166 F. Supp. 3d 779, 791 (W.D. Tex. 2015).

      59.    For example, the United States sued Indiana for violating the NVRA in

2006, noting in its complaint that “25 counties had registration totals of 90-95%” of

their voting-age population. Indiana quickly confessed to violating the NVRA in a

consent decree.

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       60.    Judicial Watch and True the Vote sued Indiana in 2012, explaining in their

complaint that “26 counties … have voter registration rolls that contain between 90%

and 100% of TVAP.” Indiana agreed to conduct a significant, statewide process to clean

up its voter rolls.

       61.    Also in 2012, Judicial Watch and True the Vote sued Ohio under the

NVRA, alleging that “thirty-one counties … have voter registration rolls that contain

between 90% and 100% of total voting age population.” Ohio agreed to implement

heightened review of the accuracy of its voter rolls.

       62.    Michigan itself has identified problems with list maintenance in the State.

       63.    Officials admit that Michigan law does not require clerks, when

conducting list maintenance, to use information from the U.S. Postal Service’s National

Change of Address system.

       64.    The Qualified Voter File was created to maintain the accuracy of

Michigan’s voter rolls, but it “does not track automatically” critical information

including many “[d]uplicate registrations,” “[i]nvalid or rejected applications,”

“[c]onfirmation cards returned,” or “[r]esult[s] of returned confirmation card.” While

this information can be entered manually, an internal “review” revealed that

“information isn’t always being entered into QVF properly.”

       65.    Defendants’ failure to maintain accurate voter rolls violates federal law

and jeopardizes the integrity of the upcoming 2020 election.




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IV.    Plaintiff’s Statutory Notice
       66.    Under the NVRA, “Plaintiffs have [statutory] standing assuming they

provided proper notice within the meaning of 52 U.S.C. §20510(b)(1).” Bellitto v. Snipes,

221 F. Supp. 3d 1354, 1362 (S.D. Fla. 2016).

       67.    On February 26, 2020, Daunt mailed a statutory notice letter to Secretary

Benson and Director Brater, notifying them that 19 Michigan counties were in violation

of section 8 and formally requesting that Defendants correct these violations within the

90-day timeframe specified in federal law.

       68.    Daunt has since received updated comparisons based on recently available

data, revealing that 16 Michigan counties are in violation of section 8. Those numbers

are reflected above.

       69.    The notice letter stated that Daunt “hope[d] to avoid litigation and would

welcome immediate efforts by [Defendants] to bring Michigan into compliance with

Section 8.”

       70.    Daunt asked the Secretary and Director to “establish, if one has not

already been initiated, a comprehensive and nondiscriminatory list maintenance

program in compliance with federal law” and to “identify and remove [several]

categories of individuals from the official lists of eligible voters.”

       71.    Daunt asked that the Secretary and Director “respond in writing within

45 days of the date of this letter,” “fully describ[ing] the efforts, policies, and programs

[Defendants] are taking, or plan to undertake prior to the 2020 general election to bring


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Michigan into compliance with Section 8” and “not[ing] when [they] plan to begin and

complete each specified measure and the results of any programs or activities you have

already undertaken.”

       72.     Additionally, Daunt requested that the Secretary and Director advise him

“what policies are presently in place, or will be put in place, to ensure effective and

routine coordination of list maintenance activities with the federal, state, and local

entities” and to provide him with “a description of the specific steps [they] intend to

take to ensure routine and effective list maintenance on a continuing basis beyond the

2020 election.

       73.     Daunt also requested that all Defendants take steps to preserve

documents as required by section 8(i) of the NVRA, 52 U.S.C. §20507(i)(1)-(2), and

other federal law. See e.g., In re Enron Corp. Sec., Derivative & Erisa Litig., 762 F. Supp. 2d

942, 963 (S.D. Tex. 2010) (“The obligation to preserve evidence arises when the party

has notice that the evidence is relevant to litigation or when a party should have known

that the evidence may be relevant to future litigation.”).

       74.     Finally, the notice letter stated that Daunt would file a lawsuit under 52

U.S.C. §20510(b)(2) if the identified violations were not corrected within 90 days of

receipt of his letter.

       75.     Defendants failed to respond to the notice letter.




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                                      COUNT
                               Violation of the NVRA
      76.    Plaintiff repeats and realleges each of the prior allegations in this

complaint.

      77.    Defendants have failed to make reasonable efforts to conduct voter list-

maintenance as required by §20507(a)(4) of the NVRA.

      78.    Plaintiff has suffered irreparable injuries as a direct result of Defendants’

violation of section 8 of the NVRA.

      79.    Plaintiff will continue to be injured by Defendants’ violations of section 8

of the NVRA until Defendants are enjoined from violating the law.

      80.    Plaintiff has no adequate remedy at law.

      WHEREFORE, Plaintiff respectfully requests that this Court enter judgment

in favor of Plaintiff and against Defendants and provide the following relief:

      A.     A declaratory judgment that Defendants are in violation of section 8
             of the NVRA;

      B.     A permanent injunction barring Defendants from violating section 8
             of the NVRA;

      C.     A preliminary injunction ensuring that Defendants’ failures to comply
             with section 8 of the NVRA are cured prior to the 2020 general
             election.

      D.     A preliminary injunction compelling Defendants to preserve all
             election list-maintenance records requested by Plaintiff;

      E.     An order instructing Defendants to develop and implement reasonable
             and effective registration list-maintenance programs to cure their
             failure to comply with section 8 of the NVRA and to ensure that
             ineligible registrants are not on the voter rolls;

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     F.    Plaintiff’s reasonable costs and expenses of this action, including
           attorneys’ fees; and

     G.    All other further relief that Plaintiff may be entitled to.

                                       Respectfully submitted,

Dated: June 9, 2020                      /s/ Cameron T. Norris
                                       William S. Consovoy
                                       Cameron T. Norris
                                       Tiffany H. Bates
                                       CONSOVOY MCCARTHY PLLC
                                       1600 Wilson Blvd., Ste. 700
                                       Arlington, VA 22209
                                       will@consovoymccarthy.com
                                       cam@consovoymccarthy.com
                                       tiffany@consovoymccarthy.com

                                       Jason Torchinsky (application for
                                       admission forthcoming)
                                       HOLTZMAN VOGEL
                                          JOSEFIAK TORCHINSKY PLLC
                                       45 North Hill Drive, Ste. 100
                                       Warrenton, VA 20186
                                       (540) 341-8800
                                       JTorchinsky@hvjt.law

                                       Counsel for Plaintiff




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